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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
KRAFTON, INC., et al.,                                       CASE NUMBER

                                                                     CV 22-209-GW-MRWx
                                              PLAINTIFF(S)
                            v.
APPLE, INC., et al.,                                          RESPONSE BY THE COURT TO NOTICE TO
                                                                   FILER OF DEFICIENCIES IN
                                           DEFENDANT(S).       ELECTRONICALLY FILED DOCUMENTS


In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents

REGARDING:


       April 1, 20022                  55                       Letter
       Date Filed                      Doc. No.                 Title of Doc.


IT IS HEREBY ORDERED:

       G The document is accepted as filed
       G The document is stricken and counsel is ordered to file an amended or
         corrected document by                                                 .
       G The hearing date has been rescheduled to                                            at
       ✔ Other
       G
            Docket No. 55 is stricken for the reason(s) stated in the Notice [57] filed on April 4, 2022.




                                                             Clerk, U.S. District Court




Dated: April 6, 2022                                         By: Javier Gonzalez
                                                                Deputy Clerk


cc: Assigned District Judge and/or Magistrate Judge



              RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
G-112B (01/07)
